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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ________________________________________

 IN RE: GENERIC PHARMACEUTICALS                                 MDL 2724
 PRICING ANTITRUST LITIGATION                                   16-MD-2724
 ________________________________________
                                                                HON. CYNTHIA M. RUFE

                                                                Individual Case No.
 THIS DOCUMENT RELATES TO:                                      17-cv-03768 (CMR)

 State Attorneys General Litigation

 _______________________________________


                 THE EMCURE DEFENDANTS NOTICE OF JOINDER
              TO DEFENDANTS’ JOINT MOTION TO STAY DISCOVERY
                PENDING A PETITION FOR A WRIT OF MANDAMUS


       Whereas a Petition for a Writ of Mandamus has been filed in the Court of Appeals

for the Third Circuit by certain defendants that could impact the application of a governing

Pre-Trial Order in this Multi-District Litigation, Defendants Emcure Pharmaceuticals Ltd. and

Satish Mehta (the “Emcure Defendants”), by and through its undersigned counsel, join the Motion

to Stay the Discovery Obligations Outlined in Paragraph 3(b) of Pre-Trial Order 105, filed on

October 31, 2019 (ECF No. 1144).

                                             Respectfully submitted,


Dated: November 4, 2019

                                                      /s/ Marguerite M. Sullivan
                                                      Marguerite M. Sullivan
                                                      Latham & Watkins LLP
                                                      555 Eleventh St., N.W.
                                                      Washington, D.C., 20004
                                                      (202) 637-2200
                                                      marguerite.sullivan@lw.com
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                                  /s/ Michael Lacovara
                                  Michael Lacovara
                                  Latham & Watkins LLP
                                  885 Third Avenue
                                  New York, NY 1022
                                  (212) 906-1200
                                  michael.lacovara@lw.com

                                  Counsel for Defendants
                                  Emcure Pharmaceuticals, Ltd.
                                  and Satish Mehta
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of November, 2019, a true and correct copy of the

foregoing was electronically filed via the Court’s CM/ECF System, which sent notice to all

counsel of record in this action.



                                                                       /s/ Marguerite M. Sullivan
                                                                             Marguerite Sullivan
